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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA
EX REL JENNIFER D' AGOSTINO, et al                        Civil Action No.12-cv-7719 (PGS)
            Plaintiffs,

                      V.
ALLIED DENTAL PRACTICES OF NEW :
JERSEY, et al
              Defendants.                                       ORDER


       WHEREAS, this matter having come before the Court, and the parties having amicably

resolved the matter and

       IT IS on this 14th day of April, 2015,

       ORDERED that the matter be and hereby is dismissed with prejudi~e and without costs,

except any party may reopen for good cause shown within sixty days. The court retains

jurisdiction over the agreement to enforce the terms.




                                                        PETER G. SHERIDAN, U.S.D.J.
